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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 E. JEAN CARROLL,
                                                    ECF Case
                          Plaintiff,
                                                    No. 1:20-cv-7311-LAK-JLC
                  -against-

 DONALD J. TRUMP, in his personal
 capacity,

                          Defendant.


                                       NOTICE OF APPEAL

          Notice is hereby given that the United States appeals to the United States Court of

Appeals for the Second Circuit from the Order entered in this action on October 27, 2020, ECF

No. 32.

 Dated: November 25, 2020                           JEFFREY BOSSERT CLARK
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